          Case 2:18-ap-01312-BB        Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02     Desc
                                        Main Document    Page 1 of 31

               1 M. Jonathan Hayes (Bar No. 90388)
                 jhayes@rhmfirm.com
               2 Matthew D. Resnik (Bar No. 182562)
                 matthew@rhmfirm.com
               3 Roksana D. Moradi (Bar No. 266572)
                 roksana@rhmfirm.com
               4 RESNIK HAYES MORADI LLP
                 17609 Ventura Blvd., Suite 314
               5 Encino, California 91316
                 Telephone: (818) 285-0100
               6 Facsimile: (818) 855-7013
               7
                 Attorneys for Plaintiff/Debtor
               8 DDC Group, Inc.
               9                        UNITED STATES BANKRUPTCY COURT
           10                            CENTRAL DISTRICT OF CALIFORNIA
           11                                     LOS ANGELES DIVISION
           12 In re:                                   )       Case No. 2:18-bk-17029-BB
                                                       )
           13 DDC GROUP, INC.,                         )       Adv. No. 2:18-ap-01312-BB
                                                       )
           14                                          )       Chapter 11
                                               Debtor. )
           15                                          )
                                                       )       FIRST AMENDED COMPLAINT FOR
           16 DDC GROUP, INC.,                         )       DECLARATORY RELIEF AND TO
                                                       )       DETERMINE NATURE, EXTENT
           17                                          )       AND VALIDITY OF JUDGMENT
                                Plaintiff,             )       LIENS
           18        vs.                               )
                                                       )
           19 RDY HOLDINGS LLC, a New York             )       STATUS CONFERENCE:
              Limited Liability Company; YES           )       Date: March 5, 2019
           20 LENDER, LLC, a business entity form      )       Time: 2:00 p.m.
              unknown; GTR SOURCE LLC, a New           )       Place: Courtroom 1539
           21 Jersey Limited Liability Company;        )              255 East Temple Street
              YELLOWSTONE CAPITAL WEST LLC, )                         Los Angeles, CA 90012
           22 a New York Limited Liability Company; )
              RICHMOND CAPITAL GROUP, LLC, a )
           23 California Limited Liability Company,    )
                                                       )
           24                   Defendants.            )
                                                       )
           25                                          )
           26
                         Plaintiff/Debtor DDC GROUP, INC. alleges as follows:
           27
                   ///
           28

RESNIK HAYES                                               1
 MORADI LLP
Case 2:18-ap-01312-BB          Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02                   Desc
                                Main Document    Page 2 of 31

 1 ///
 2                                           I.        INTRODUCTION
 3           1.       On June 18, 2018, Plaintiff DDC GROUP, INC. (hereinafter "the Debtor” or
 4 “Plaintiff”), Debtor in-Possession, filed its chapter 11 petition. The Chapter 11 case is
 5 now pending before this court. Debtor continues to operate its business as Debtor-in-
 6 Possession.
 7           2.       Plaintiff is informed and believes, and based upon such information and
 8 belief, thereon allege, that at all times hereinafter mentioned, Defendant, RDY
 9 HOLDINGS LLC, a New York Limited Liability Company (hereinafter “RDY”), is
10 and was a Limited Liability Company organized and existing under the laws of its state of
11 formation, and doing business within the Central District of California.
12           3.       Plaintiff is informed and believes, and based upon such information and
13 belief, thereon allege, that at all times hereinafter mentioned, Defendant, YES LENDER,
14 LLC, a business entity form unknown (hereinafter “YES”), is and was a Limited
15 Liability Company organized and existing under the laws of its state of formation, and
16 doing business within the Central District of California.
17           4.       Plaintiff is informed and believes, and based upon such information and
18 belief, thereon allege, that at all times hereinafter mentioned, Defendant, GTR SOURCE
19 LLC, a New Jersey Limited Liability Company (hereinafter “GTR”), is and was a
20 Limited Liability Company organized and existing under the laws of its state of formation,
21 and doing business within the Central District of California.
22           5.       Plaintiff is informed and believes, and based upon such information and
23 belief,        thereon   allege,   that        at    all   times   hereinafter   mentioned,    Defendant,
24 YELLOWSTONE CAPITAL WEST LLC, a New York Limited Liability Company
25 (hereinafter “YELLOWSTONE”), is and was a Limited Liability Company organized and
26 existing under the laws of its state of formation, and doing business within the Central
27 District of California.
28           6.       Plaintiff is informed and believes, and based upon such information and

                                                              2
Case 2:18-ap-01312-BB      Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02           Desc
                            Main Document    Page 3 of 31

 1 belief, thereon allege, that at all times hereinafter mentioned, Defendant, RICHMOND
 2 CAPITAL GROUP, LLC, a California Limited Liability Company (hereinafter
 3 “RICHMOND”), was a Limited Liability Company organized and existing under the laws
 4 of its state of formation, and doing business within the Central District of California.
 5         7.     This adversary proceeding is a core proceeding pursuant to the provisions of
 6 28 U.S.C. § 157 and this court has jurisdiction over this adversary proceeding pursuant to
 7 28 U.S.C. §§ 157 and 1334, and Rule 7001 of the Federal Rules of Bankruptcy Procedure.
 8 Venue in this judicial district is proper pursuant to the provisions of 28 U.S.C. § 1409(a).
 9         8.     Plaintiff is a California corporation which owns and operates a construction
10 business which focuses on remodeling of retail spaces and restaurants. The Debtor has
11 general contractor licenses in California, Oregon and Washington State.
12         9.     Plaintiff DDC Group Inc. began in 2014 as Your Construction Experts. The
13 current owners of DDC Group, Inc. purchased Your Construction Experts in late 2014 and
14 obtained its first contract in the spring of 2015. The company name was changed to Drop
15 Development Construction, Inc. from Your Construction Experts in late 2014, and was
16 shortened to DDC Group, Inc. in 2016.
17         10.    Plaintiff’s specialty is remodeling retail and restaurant locations for
18 franchisees. Locations include stores in malls, free-standing stores and stores in hotels. In
19 early 2018, DDC Group, Inc. had projects in Washington, Oregon and California, and ran
20 multiple sites for multiple clients.
21         11.    Plaintiff began borrowing money from Defendants who are short-term “hard
22 money” lenders, at least on five separate occasions in the year before filing the chapter 11
23 petition. The loan documentation for each defendant purports to provide that the lender is
24 “buying” some percentage of existing but unidentified accounts receivable at a huge and
25 also unidentified interest rate. The documentation also appears to provide for a blanket lien
26 on all assets of the Debtor.
27         12.    Upon the most basic default of the loan terms, the lender in three cases
28 immediately filed suit in New York and in the YesLender case filed suit in Pennsylvania.

                                                  3
Case 2:18-ap-01312-BB     Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02          Desc
                           Main Document    Page 4 of 31

 1 Each lender used a Confession of Judgment to obtain a New York or Pennsylvania
 2 judgment literally overnight, without review of the documents by a judge or notice to the
 3 Debtor that a judgment was being sought. The Debtor first learned of the judgments when
 4 the corporate bank accounts were frozen.
 5         13.    Defendant RDY Holdings LLC has not yet obtained a judgment against the
 6 Debtor. Its personal property security interest is however first in priority of the five
 7 lenders.
 8         14.    Defendant YesLender has obtained a sister state judgment in California. The
 9 other three defendants with out of state judgments do not have sister state judgments in
10 California. As to the YesLender California Judgment, California law was not followed by
11 YesLender and therefore the judgment should be declared void.
12         California Code of Civil Procedure 1132: (b) A judgment by confession
           shall be entered only if an attorney independently representing the defendant
13
           signs a certificate that the attorney has examined the proposed judgment and
14         has advised the defendant with respect to the waiver of rights and defenses
           under the confession of judgment procedure and has advised the defendant to
15         utilize the confession of judgment procedure. The certificate shall be filed
16         with the filing of the statement required by Section 1133."

17         15.    Debtor was not offered the opportunity to have its attorney “examine the
18 proposed judgment” or give it any advice whatsoever.
19         16.    In fact, when copies of the paperwork used to obtain the judgments were
20 obtained and reviewed, it was learned that the affidavits submitted in New York and
21 Pennsylvania to obtain the judgments include false statements, such as the amount which
22 had been repaid, the amount which had been funded, and the alleged conduct which
23 defendants claimed created a default. In addition, the judgments include huge attorney fee
24 claims even though the forms were summarily submitted to the clerk, no court appearances
25 had been required, and the loans had funded only weeks prior to the judgments being
26 obtained. The difference between the judgment and the amount actually lent is substantial,
27 often double, or nearly double, the initial loan amount. Plaintiff therefore disputes in full
28 the validity of all such Judgments.

                                                 4
Case 2:18-ap-01312-BB       Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02        Desc
                             Main Document    Page 5 of 31

 1         17.      Based on the out-of-state judgments, at least three of the lenders began
 2 levying the Debtor’s out-of-state bank accounts by serving the levy on a local branch in
 3 New York. Those banks froze all accounts of the Debtor because each account did not
 4 have twice the amount of the judgment, but the combined amount of the accounts far
 5 exceeded the amounts of the judgment. These levies compromised the Debtor’s ability to
 6 pay subcontractors and overhead. Letters from these lenders to clients led to clients failing
 7 to pay DDC what was owed to the Debtor on contracts. This conduct by the lenders
 8 combined with aging accounts receivables becoming an issue, led directly to the Debtor’s
 9 decision to file the within chapter 11 petition.
10                                            The Liens
11         18.      Plaintiff is informed and believes, based on a review of a UCC Search
12 Report and its own records alleges, there appears to be the following allegedly secured
13 creditors:
14         a. RDY Holdings LLC recorded a UCC-1 Financing Statement on January 11,
15               2017. A true and correct copy of the UCC-1 bearing Filing Number 17-
16               7565490963 is attached hereto as Exhibit “1” and is incorporated herein by this
17               reference as though set forth in full. As stated above, RDY Holdings does not
18               have a judgment against the Debtor.
19         b. YES LENDER LLC recorded a UCC-1 Financing Statement on February 14,
20               2018. A true and correct copy of the UCC-1 bearing Filing Number 18-
21               7633476116 is attached hereto as Exhibit “2 and is incorporated herein by this
22               reference as though set forth in full.   YesLender has both a Pennsylvania
23               judgment and a California judgment against the Debtor.
24         c. RICHMOND CAPITAL GROUP recorded a UCC-1 Financing Statement on
25               April 20, 2018. A true and correct copy of the UCC-1 bearing Filing Number
26               18-7644739988 is attached hereto as Exhibit “3” and is incorporated herein by
27               this reference as though set forth in full. Richmond Capital Group has a New
28               York Judgment against the Debtor.

                                                  5
Case 2:18-ap-01312-BB       Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02         Desc
                             Main Document    Page 6 of 31

 1         d. GTR SOURCE LLC recorded a UCC-1 Financing Statement on May 7, 2018.
 2               Judgment date and amount is unknown. A true and correct copy of the UCC-1
 3               bearing Filing Number 18-7647530798 is attached hereto as Exhibit “4” and is
 4               incorporated herein by this reference as though set forth in full. GTR Source
 5               has a New York Judgment against the Debtor.
 6         e. YELLOWSTONE CAPITAL WEST LLC recorded a UCC-1 Financing
 7               Statement on March 1, 2018. Judgment date and amount is unknown. A true and
 8               correct copy of the UCC-1 bearing Filing Number 18-7635701694 is attached
 9               hereto as Exhibit “5” and is incorporated herein by this reference as though set
10               forth in full. Yellowstone Capital West has a New York Judgment against the
11               Debtor.
12
13                                           The Judgments
14         19.      Plaintiff is informed and believes and based thereon alleged that a review of
15 Court Records reveals the following Judgment entered in favor of Defendants:
16   Creditor                Date of Judgment          Judgment Amount      Amount Borrowed
17   Richmond Capital        February 28, 2018         $37,820.12           $25,000.00
     Group, LLC
18   GTR Source, LLC         February 28, 2018         $37,820.12           $25,000.00
     Yellowstone             March 1, 2018             $112,664.56          $60,000.00
19   Capital West, LLC
     YES Lender LLC          April 2, 2018             $63,483.35           $38,800.00
20
21 True and correct copies of the Judgments which Plaintiff was able to obtain copies of are
22 attached hereto collectively as Exhibit “6” and are incorporated herein by this reference as
23 though set forth in full.
24       20.     Given the large disparity between the amounts borrowed by Plaintiff and the
25 amounts of the Judgments entered, Plaintiff disputes the validity of all such Judgments and
26 the extent, if any of any liens claimed by the Defendants.
27
28

                                                   6
Case 2:18-ap-01312-BB      Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02          Desc
                            Main Document    Page 7 of 31

 1                            II.    FIRST CLAIM FOR RELIEF
 2        DECLARATORY RELIEF TO DETERMINE THE NATURE, EXTENT AND
 3            VALIDITY OF ANY LIENS UNDER F.R.B.P. 7001(2) AGAINST ALL
 4                                            DEFENDANTS
 5         21.     Plaintiff incorporates the allegations contained in paragraphs 1 through 17
 6 above as if set forth herein in full.
 7         22.     Plaintiff is informed and believes and on that basis alleges that Defendants
 8 RDY, YES, GTR, YELLOWSTONE, and RICHMOND intend to continue to try to collect
 9 the debts or otherwise assert their liens against Plaintiff in the amounts set forth in the
10 Judgments and UCC liens. Plaintiff is not alleging that any Defendants have violated the
11 automatic stay.
12         23.     An actual controversy has arisen between the parties and now exists between
13 them as to whether or not the RDY, YES, GTR, YELLOWSTONE, and RICHMOND
14 liens are valid and if so, to what extent and amount.
15         24.     While Plaintiff does not dispute the debts per se, it does dispute the amount
16 and the secured status of each. Plaintiff does dispute the claimed amounts for each Lien
17 based upon the clear disparity between the amount originally borrowed and the Judgment
18 amounts given the short period of time actually involved and the lack of effort expended to
19 obtain such Judgments.
20         25.     Plaintiff disputes any interest charged by Defendants (irrespective of whether
21 it is called interest or some other increase in the amount borrowed) on the basis that the
22 interest is an unenforceable penalty.
23         26.     Plaintiff disputes any attorney’s fees charged by Defendants that are more
24 than a nominal amount on the basis that the fees are unreasonable and therefore not
25 allowable as a claim against the estate.
26         27.     Plaintiff seeks a determination of the extent and validity of a lien on Real
27 Property (the “Property”) pursuant to B.R. 7001(2), which provides for an adversary
28

                                                  7
Case 2:18-ap-01312-BB        Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02         Desc
                              Main Document    Page 8 of 31

 1 proceeding “to determine the validity, priority, or extent of a lien or other interest in
 2 property.”
 3          28.      A court determination is therefore necessary of the relative rights of the
 4 parties with respect to the nature, extent and validity of the RDY, YES, GTR,
 5 YELLOWSTONE, and RICHMOND judgment liens. Until such determination is made,
 6 the parties will not know whether the debts are valid, whether they are secured, and if so,
 7 in which amount.
 8                          III.       SECOND CLAIM FOR RELIEF
 9                                     DECLARATORY RELIEF
10          29.      Plaintiff incorporates the allegations contained in paragraphs 1 through 17
11 above as if set forth herein in full.
12          30.      A Complaint for Declaratory Relief, pursuant to B.R. 7001(9), can provide
13 the same relief as is available to Plaintiff pursuant to B.R. 7001(1), (2) and (7), because it
14 provides that a declaratory judgment can include any of the relief available in any other
15 type of adversary proceeding. It provides that an adversary proceeding includes “a
16 proceeding to obtain a declaratory judgment relating to any of the foregoing,” i.e., any of
17 the adversary proceeding types delineated in B.R. 7001(1) through (8).
18          31.      Plaintiff seeks declaratory relief, such as is necessary to provide the same
19 relief available pursuant to B.R. 7001(2) and (7).
20          32.      Plaintiff seeks declaratory rulings as are determined by the Court, as is
21 necessary to carry out the purposes and intents of the relief requested in this Complaint.
22          33.      Plaintiff seeks declaratory rulings pertaining to the documents recorded that
23 constitute a cloud upon Plaintiff’s assets.
24          34.      Therefore, Plaintiff requests declaratory rulings that:
25                a. The YesLender, GTR, Yellowstone and Richmond claims are limited to the
26                   extent that they exceed the amount actually borrowed by Plaintiff plus
27                   interest at the legal rate and costs of suit only; and
28

                                                      8
Case 2:18-ap-01312-BB      Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02           Desc
                            Main Document    Page 9 of 31

 1              b. The RDY, YES, GTR, YELLOWSTONE, and RICHMOND Liens are not
 2                valid, thereby making the debts unsecured entirely.
 3
 4         WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
 5         1.     For a declaration of the Court that the RDY, YES, GTR, YELLOWSTONE,
 6 and RICHMOND liens are not valid, perfected, or enforceable pre-petition security
 7 interests or lien on any of the Debtor’s estate;
 8        2.      For a declaration of the Court that the RDY, YES, GTR, YELLOWSTONE,
 9 and RICHMOND claims are limited to the amount actually borrowed by Plaintiff.
10        3.      For such further relief as is just and proper.
11
     Dated: January 14, 2019                       RESNIK HAYES MORADI, LLP
12
13                                                 By.       /s/ M. Jonathan Hayes
                                                             M. Jonathan Hayes
14                                                           Matthew D. Resnik
                                                             Roksana D. Moradi
15                                                           Attorneys for Plaintiff/Debtor
                                                             DDC Group, Inc.
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   9
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 10 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 11 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 12 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 13 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 14 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 15 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 16 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 17 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 18 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 19 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 20 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 21 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 22 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 23 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 24 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 25 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 26 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 27 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 28 of 31
Case 2:18-ap-01312-BB   Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02   Desc
                        Main Document    Page 29 of 31
Case 2:18-ap-01312-BB     Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02          Desc
                          Main Document    Page 30 of 31
                            PROOF OF SERVICE OF DOCUMENT

 1 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
   My business address is: 17609 Ventura Blvd., Suite 314, Encino, CA 91316.
 2
         A true and correct copy of the foregoing documents:
 3                  • FIRST AMENDED COMPLAINT FOR DECLARATORY
                        RELIEF AND TO DETERMINE NATURE, EXTENT AND
 4                      VALIDITY OF JUDGMENT LIENS
 5         will be served or was served (a) on the judge in chambers in the form and manner
           required by LBR 5005-2(d); and (b) in the manner indicated below:
 6
   I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
 7 (“NEF”) – Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s)
   (“LBR”), the foregoing document will be served by the court via NEF and hyperlink to the
 8 document. On 1/14/19, I checked the CM/ECF docket for this bankruptcy case or
   adversary proceeding and determined that the following person(s) are on the Electronic
 9 Mail Notice List to receive NEF transmission at the email address(es) indicated below:
        Service information continued on attached page
10
       • M. Jonathan Hayes        jhayes@rhmfirm.com,
11         roksana@rhmfirm.com;rosario@rhmfirm.com;janita@rhmfirm.com;susie@r
           hmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pardis@rhmfirm.co
12         m;russ@rhmfirm.com;rebeca@rhmfirm.com
       • United States Trustee (LA)      ustpregion16.la.ecf@usdoj.gov
13     • Larry D Webb         Webblaw@gmail.com,
           larry@webblaw.onmicrosoft.com;r51666@notify.bestcase.com
14
   II. SERVED BY U.S. MAIL: On 1/14/19, I served the following person(s) and/or
15 entity(ies) at the last known address(es) in this bankruptcy case or adversary proceeding by
   placing a true and correct copy thereof in a sealed envelope in the United States Mail, first
16 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
   declaration that mailing to the judge will be completed no later than 24 hours after the
17 document is filed.
18 Hon. Sheri Bluebond
   U.S. Bankruptcy Court
19 255 E. Temple Street, Suite 1534
   Los Angeles, CA 90012
20
   PLAINTIFF:
21 DDC Group, Inc.
   350 South Grand Ave., Suite 1670
22 Los Angeles, CA 90071
23 Clerk of the Court
   U.S. Bankruptcy Court
24 915 Wilshire Blvd., #1050
   Los Angeles, CA 90017
25
26 DEFENDANTS
27 RDY HOLDINGS LLC                                   1797 Atlantic Avenue

28
28
Case 2:18-ap-01312-BB      Doc 18 Filed 01/14/19 Entered 01/14/19 18:06:02          Desc
                           Main Document    Page 31 of 31

     Brooklyn, NY 11233
                                                     Attorney for GTR Source, LLC
   Yes Lender, LLC                                   111 John Street, Suite 1210
   1150 First Ave., Suite 105                        New York, New York 10038
 2 King of Prussia, PA 19406
   GTR Source LLC
 3 111 John Street, Suite 1210                       GTR Source, LLC
   New York, NY 10038                                Attn: Tzvi Reich
 4                                                   111 John Street, Suite 1210
     Marcella G. Rabinovich, Esq.                    New York, New York 10038
 5                                                   Yellowstone Capital West LLC
     Yellowstone Capital West LLC                    1 Evertrust Plaza, #1401
 6 17 State Street, Suite 4000                       Jersey City, NJ 070302
     New York, NY 10004
 7
     Richmond Capital Group LLC                      Richmond Capital Group LLC
 8 111 John Street                                   8212 Third Ave.
     New York, NY 10038                              Brooklyn, NY 11209
 9
10 III. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
   TRANSMISSION OR EMAIL (indicate method for each person or entity served):
11 Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 1/14/2019 I served the following
   person(s) and/or entity(ies) by personal delivery, overnight mail service, or (for those who
12 consented in writing to such service method), by facsimile transmission and/or email as
   follows. Listing the judge here constitutes a declaration that personal delivery on the judge
13 will be completed no later than 24 hours after the document is filed.
        Service information continued on attached page
14
15   Via email to Jeffrey Zachter (attorney for RDY Holdings LLC)

16 I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct.
17
    1/14/19          Ja’Nita Fisher                          /s/ Ja’Nita Fisher
18 Date                Type Name                             Signature
19
20
21
22
23
24
25
26
27
28
